                          UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TEXAS
                               BEAUMONT DIVISION

 UNITED STATES OF AMERICA                          §
                                                   §
 V.                                                §   CAUSE NO. 1:20-CR-00055-TH
                                                   §
 JAKE ELLIS DAUGHTRY (1)                           §
                                                   §

              MOTION TO WITHDRAW GUILTY PLEA
TO THE HONORABLE JUDGE:

      Jake Ellis Daughtry moves the Court to enter an order allowing him to withdraw

his plea of guilty entered January 18, 2022.


                                  INTRODUCTION


      Jake Daughtry is the owner of Right Price Chemicals (“RPC”), a legitimate small

business in Nederland, Texas that lawfully sold chemicals, laboratory and safety

supplies as an online retailer. The company sold to a variety of customers over the years

including the Transportation Security Administration (“TSA”), NYU School of Medicine,

and SpaceX. Many major retailers, such as Amazon, Walmart, and eBay were selling

and fulfilling orders for 1,4 butanediol in the same manner as RPC. Exhibits 1-3. 1,4

butanediol is a legal, non-regulated chemical that is used in several consumer products

including spandex and as an industrial solvent. This chemical is commonly used as a

wheel cleaner, floor cleaner, and to clean circuit boards, among other consumer

applications. To put it into perspective, Acetone, a common fingernail polish remover is

a hazardous chemical for purposes of transport and is a List II chemical whereas 1,4

butanediol is not a hazardous chemical and is not on any Schedule of Controlled

Substances and is not a listed chemical.
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      Sometime in 2018, RPC employees began receiving notice of UPS lost packages

and shipping exceptions being reported from Florida customers that RPC deliveries

were not arriving as expected. The employees made a list of the orders that were subject

to the shipping exceptions, which included products other than 1,4 butanediol. Daughtry

was able to track the issues down to only two UPS hubs out of Fort Lauderdale and

Hialeah. Once RPC determined the issue was limited to these two hubs, RPC stopped

shipping to Florida temporarily for all products. Daughtry reached out to his UPS

representatives to understand and resolve any shipping issues. UPS’s initial response

was that the packages were likely lost/damaged in transit and a claim form would need

to be filed for reimbursement.

      Daughtry received a phone call from Natasha King claiming to be with the

Sheriff's office in Broward County, Florida, stating RPC needed to stop shipping

GBL/GHB to customers in Florida. Natasha King referred to comments she claimed

were from “poison control” where they had referred to the substance as the

“concentrated form of GHB”. Jake Daughtry explained that GHB and GBL are not items

that RPC purchases or sells. Daughtry requested attorney JT Thomas look into the

matter; he was unable to get any answers from Florida. A week or two later, Jake

Daughtry consulted attorney Tom Kelley at The Gertz Law Firm to investigate the issue

further and provide legal advice to RPC.

      Jake Daughtry also called DEA Beaumont to conduct further due diligence. DI

Baker stated she had never heard of 1,4 butanediol but that she would do her due

diligence by finding out and calling them back. Not only did this agent never call




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Daughtry back, she wrote a DEA 6 Report falsely stating the Daughtry’s are “Shipping

GBL to end users in Florida.”

      The false statements related to claims RPC was illegally distributing GBL carry

their way into the report written by SA Karen Berra on March 1, 2018 which falsely

claims “Company illegally distributing GBL domestically.” The repeated and intentional

misidentifications of 1,4 butanediol as “GBL” ultimately resulted in a criminal

investigation that should have never been initiated.

      Daughtry and his attorney were in contact with the DEA and forthcoming with

information. In 2019 Daughtry received a subpoena from a DEA agent in Arizona

related to 1,4 Butanediol. Daughtry responded to the subpoena and had his attorney

reach out to the agent. Daughtry was told by Attorney Kelley neither RPC nor Jake

Daughtry were the target of any DEA investigation.

      On July 15, 2020, without any notice from the Government, a raid was conducted

where property was seized subject to forfeiture as a result of the false accusations made

by the DEA. The legal authorities in this area make it indisputable that the actions of

RPC and Jake Daughtry were not a crime. The Indictment, Superseding Indictment, and

Information all fail as void because they lack the necessary mens rea, as defined by the

United States Supreme Court in Ruan, since Jake Daughtry’s guilty plea.


      Defendant’s Motion to Withdraw his Guilty Plea should be granted for the

following reasons:


          ● Daughtry’s elderly parents were used by the prosecutor to coerce his guilty
            plea
          ● The entry of a guilty plea does not act as a waiver of jurisdictional defects
            such as an indictment's failure to charge an offense


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          ● 21 USC § 841(g)(3) is a condition precedent to implementation and
            enforcement of § 841 as to 1,4 butanediol and the Attorney General has
            never promulgated the necessary regulations
          ● The Information is void, in part, because the Defendant did not receive fair
            notice of what activity he allegedly engaged in to support the underlying
            offense
          ● GHB is not a Schedule I controlled substance listed by Congress; Exhibit 4
            - 21 USC § 812
          ● 1,4 Butanediol is not a controlled substance analogue of GHB by
            definition; Exhibit 5 - 21 USC § 802 (32)(A)
          ● Congress added 841(g) as a penalty enhancement and not an unlawful act
            of 21 USC § 841(a); Exhibit 6 - Adam Walsh Act
          ● This case was and continues to be stained with fabrications and malicious
            misconduct
                ● The government provided and relied upon fabricated evidence to
                   obtain Jake Daughtry's guilty plea
                ● Since the plea, there is new information and proof of the
                   government deliberately tampering with documents
       This wrongful prosecution only continued due to the various strains of

misconduct of Government agents, contractors and prosecutors, which have fused

together in such an egregious manner that Court intervention is required to prevent a

miscarriage of justice.


       Ultimately, the government’s case fails as void for failure to charge

the necessary elements of a crime. The Supreme Court has long recognized that a

guilty plea is only an admission of factual guilt, Menna v. New York, 423 U.S. 61, 62 n.2

(1975) (per curiam), and consistently held that guilty pleas are not absolute and may be

appealed based on claims of actual innocence. See id. at 61; Blackledge v. Perry, 417

U.S. 21 (1974); Bousley v. United States, 523 U.S. 614 (1998); Class v. United States,

138 S. Ct. 798, 804 (2018). Because a guilty plea reflects an admission only of factual

guilt, a defendant’s challenge to the applicability of the convicting statute to those

admitted facts is a claim of actual innocence that cannot be waived.



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                          PROCEDURAL BACKGROUND


      On June 3, 2020, the Eastern District of Texas returned a 24-count Indictment

against the Defendant alleging violations of 21 USC § 846 and 841, 21 USC §§

802(32)(A), 813, and 841(a)(1) and(b)(1)(C), and 18 USC § 2, 21 USC § 841(g), 21 USC

§§ 841(g)(1)(B) and (g)(2)(A)(i), 21 USC § 856(a)(1), 21 USC § 1957; the indictment also

sought forfeiture of certain real property and personal property in the form of a money

judgment pursuant to 21 USC §§ 853 and 881.


      On July 17, 2020, the defendant appeared for arraignment before Magistrate

Judge Zack Hawthorn and entered a plea of “not guilty”.


      On January 18, 2022 the Government shifted the prosecution to a strict liability

offense by filing an Information alleging only one count under 21 USC §§ 846 and 841.

Conspiracy to possess with intent to distribute and distribution of a date rape drug over

the internet to an unauthorized purchaser.


      The Court has accepted the Defendant’s plea but has not yet accepted the plea

agreement. [Dkt 392] Sentencing has not yet occurred.


                    LEGAL AUTHORITIES AND ARGUMENT

      Rule 11(d)(2)(b) allows a defendant to withdraw a plea of guilty after the Court

accepts the plea, but before it imposes sentencing if the Defendant can show a fair and

just reason for requesting the withdrawal.




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CARR FACTORS


          This rule should be “construed and applied liberally.” United States v. Benavides,

793 F.2d 612, 616 (5th Cir. 1986). District courts have broad discretion to allow a

defendant to withdraw his plea of guilty under Federal Rule of Criminal Procedure 11(d).

United States v. Powell, 354 F.3d 362, 370 (5th Cir. 2003). The following factors should

be considered when deciding whether to allow a defendant to withdraw his plea of

guilty:


(1)       whether the defendant asserted his innocence;
(2)       whether the Government would suffer prejudice if the withdrawal
          motion were granted;
(3)       whether the defendant delayed filing his withdrawal motion;
(4)       whether the withdrawal would substantially inconvenience the
          court;
(5)       whether close assistance of counsel was available;
(6)       whether the original plea was knowing and voluntary; and
(7)       whether the withdrawal would waste judicial resources.

United States v. Carr, 740 F.2d 339, 343–44 (5th Cir. 1984).


TOTALITY OF THE CIRCUMSTANCES ANALYSIS APPROPRIATE FOR PLEA WITHDRAWAL
   Courts should also look at the reasons why later advanced defenses were not

proffered at the time of the original plea, or the reasons why a defendant delayed in

making his withdrawal motion. Id 343–44 (5th Cir. 1984). In applying these factors, the

Court should consider the totality of the circumstances. Id. at 344.


          In United States v. Ribas-Dominicci, the Court reviewed whether to permit a

defendant to withdraw a guilty plea, prior to sentencing, and reasoned that Rule 32(d)

directs the court to grant the motion if there is a showing of a fair and just reason. The

Court was persuaded one such reason would be a showing that there was a core violation

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of Rule 11. A core violation would include an improper description of the mens rea of the

offense. The court had instructed the defendant that he could be found guilty of the

theft offense only if he acted willfully - that is:

        This was an inaccurate statement of the willfulness requirement of the
       theft offense. See Morissette v. United States, 342 U.S. 246 (1952).
       Consequently, when the defendant moved to withdraw the plea prior to
       sentencing the trial court erred in denying the motion.” Ribas-Dominicci,
       50 F.3d 76 (1st Cir. 1995).


RUAN DECIDED BY UNITED STATES SUPREME COURT UNANIMOUSLY ON JUNE 27, 2022

       This language parallels the language the United States Supreme Court recently

looked to in Ruan where they reviewed the the required mens rea that applies to § 841:

       “First, as a general matter, our criminal law seeks to punish the “ ‘vicious
       will.’ ” Morissette v. United States, 342 U.S. 246, 251 (1952); see
       also id., at 250, n. 4 (quoting F. Sayre, Cases on Criminal Law, p. xxxvi (R.
       Pound ed. 1927)). With few exceptions, “ ‘wrongdoing must be conscious
       to be criminal.’ ” Elonis v. United States, 575 U.S. 723, 734 (2015)
       (quoting Morissette, 342 U. S., at 252). Indeed, we have said that
       consciousness of wrongdoing is a principle “as universal and persistent in
       mature systems of [criminal] law as belief in freedom of the human will
       and a consequent ability and duty of the normal individual to choose
       between good and evil.” Id., at 250.

       Consequently, when we interpret criminal statutes, we normally “start
       from a longstanding presumption, traceable to the common law, that
       Congress intends to require a defendant to possess a culpable mental
       state.” Rehaif v. United States, 588 U. S. ___, ___ (2019) (slip op., at 3).
       We have referred to this culpable mental state as “scienter,” which means
       the degree of knowledge necessary to make a person criminally
       responsible for his or her acts. See ibid.; Black’s Law Dictionary 1613 (11th
       ed. 2019); Morissette, 342 U. S., at 250–252.

       Applying the presumption of scienter, we have read into criminal statutes
       that are “silent on the required mental state”—meaning statutes that
       contain no mens rea provision whatsoever—“ ‘that mens rea which is
       necessary to separate wrongful conduct from “otherwise innocent
       conduct.” ’ ” Elonis, 575 U. S., at 736 (quoting Carter v. United States, 530
       U.S. 255, 269 (2000); emphasis added). Unsurprisingly, given the
       meaning of scienter, the mens rea we have read into such statutes is often
       that of knowledge or intent. See, e.g., Staples v. United States, 511 U.S.
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       600, 619 (1994); United States v. United States Gypsum Co., 438 U.S.
       422, 444–446 (1978).

       And when a statute is not silent as to mens rea but instead “includes a
       general scienter provision,” “the presumption applies with equal or greater
       force” to the scope of that provision. Rehaif, 588 U. S., at ___ (slip op., at
       3) (emphasis added). We have accordingly held that a word such as
       “knowingly” modifies not only the words directly following it, but also
       those other statutory terms that “separate wrongful from innocent
       acts.” Id., at ___ (slip op., at 6); see, e.g., ibid.; United
       States v. X-Citement        Video,      Inc., 513     U.S.       64,       72
       (1994); Liparota v. United States, 471 U.S. 419, 426 (1985).

       Section 841 contains a general scienter provision—“knowingly or
       intentionally.” And in §841 prosecutions, a lack of authorization is what
       separates wrongfulness from innocence. Ruan at 6.

       The Ruan Court unanimously found it important that the scienter requirement

helped diminish the risk of overdeterrence by “punishing acceptable beneficial conduct

that lies close to, but on the permissible side, of the criminal line.” Id.


       An act is done willfully if done with a bad or evil purpose to do what the law

forbids. United States v. Mann, 517 F.2d 259 (5th cir. 1979). A willful act is not

something which is accidental, careless or negligent. Id. at 268. “A defendant’s conduct

is not willful if it was the result of a good faith understanding that he was acting within

the requirements of the law.” United States v. Doyle, 130 F.3d 523, 540 (2d Cir. 1997). A

defendant is under no burden to prove his good faith rather, the prosecution must prove

bad faith beyond a reasonable doubt. Ruan v. United States, 597 U.S. ____ (2022).


       Ruan adopts Judge Roberts’ concurring position in McFadden giving clarity to

the law that did not exist at the time of Jake Daughtry’s plea:


        As the Court points out, the word “knowingly” applies “not just to the
        statute's verbs, but also to the object of those verbs—‘a controlled
        substance.’ ” Ante, at 2304 (emphasis deleted). That suggests that a
        defendant needs to know more than the identity of the substance; he
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       needs to know that the substance is controlled. See, e.g.,United States v.
       Howard,773 F.3d 519, 526 (C.A.4 2014); United States v.
       Washington,596 F.3d 926, 944 (C.A.8 2010); United States v.
       Rogers,387 F.3d 925, 935 (C.A.7 2004). McFadden v. United States, 135
       S. Ct. 2298, 2307 (2015)

As Justice Roberts previewed in McFadden:


       “knowledge of the substance's identity suffices because “ignorance of the
       law is typically no defense to criminal prosecution.” Ante, at 2304. I agree
       that is “typically” true. But when “there is a legal element in the definition
       of the offense,” a person's lack of knowledge regarding that legal element
       can be a defense. Liparota v. United States, 471 U.S. 419, 425, n. 9, 105
       S.Ct. 2084, 85 L.Ed.2d 434 (1985).
       Jake Daughtry was faced with that exact circumstance Justice Roberts described.

The lawyers he consulted, the experts he relied on such as the Chemist he contracted,

Silver Fern, the industry, the DEA, and the Attorney General all failed to provide any

explanation that would lead him to believe he was operating in violation of any law or

regulation. Justice Roberts specifically left open that he might bring this discussion back

up in the future:


       “The analogy the Court drew in Liparota was to a charge of receipt of
       stolen property: It is no defense that the defendant did not know such
       receipt was illegal, but it is a defense that he did not know the property
       was stolen. Here, the argument goes, it is no defense that a defendant did
       not know it was illegal to possess a controlled substance, but it is a
       defense that he did not know the substance was controlled.
       Ultimately, the Court's statements on this issue are not necessary to its
       conclusion that the District Court's jury instructions “did not fully convey
       the mental state required by the Analogue Act.” Ante, at 2307. Those
       statements should therefore not be regarded as controlling if the issue
       arises in a future case.” (emphasis added)
Ruan presents this Court with the opportunity to clarify to the Government that it

always has the burden of proof as to the requisite level of intent all the way through the

offense down to the point of proving that Jake Daughtry knew 1,4 butanediol was


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controlled. Ruan makes it clear the Government cannot shift its burden of proof onto

Jake Daughtry in order to coerce a guilty plea. Now that the United States Supreme

Court has provided clarity after his plea, Jake Daughtry should have the benefit of that

information associated with his plea decision.


CONSPIRACY


       "To obtain a conviction under section 846 [21 USC § 846], the government must

prove the existence of an agreement to violate the drug laws and that each conspirator

knew of, intended to join and participated in the conspiracy." United States v.

Blakeney,942 F.2d 1001, 1009 (6th Cir. 1991) (citations omitted). Id at 177.


   1. THE DEFENDANT ASSERTED HIS INNOCENCE


       Jake Daughtry is actually innocent of the allegations. The Government

misrepresented its trial burden in order to obtain a guilty plea despite the Defendant’s

innocence. Through the course of the criminal prosecution, Jake Daughtry maintained

his innocence in the face of the Government’s attempts to use fabricated evidence and

shifting legal theories.


       The Government has changed the path of its prosecution multiple times. Exhibits

22-24. In the final rendition before the plea the Government resorted to a self-serving

legal fiction where they would not have to prove the required mens rea. They created a

fictitious strict liability offense with respect to 1,4 butanediol that defies logic and flies in

the face of the products’ many known consumer applications as well as the chemical

industry’s recommendation to avoid regulation of 1,4 butanediol. The requirement of

“fundamental fairness” is a core value “embodied in the Due Process Clause of the

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Fourteenth Amendment.” In Re Winship, 397 U.S. 358, 369(1970)(Harlan J.,

concurring). As a fundamental right, "[t]he Notice Clause of the Sixth Amendment, as

protected by Fed.R.Crim.P. 7(c), guarantees a criminal defendant the right to be

informed of the charges brought against him" U.S. v. Superior Growers Supply Inc.,

982 F.2d 173 (6th Cir. 1992). Notice of specific wrongdoing is even more important

when the conduct is free commerce. United States v. Falcone, 311 U.S. 205. The

prosecutor(s) self-serving and inconsistent legal theories concerning the same alleged

conduct has continuously deprived the defendant of “fundamental fairness.” and

constitute prosecutorial misconduct.


       With complete disregard to fundamental fairness, the Government attempted

through a Motion in Limine to completely abandon the fabricated documents. Once

fabricated documents were introduced by the Government during the prosecution, it

became impossible for anyone to know if the documents received in Discovery were

fabricated and every party risked offering fabricated evidence. The Government’s

discovery abuses and document dump tactics served no other purpose except to force a

plea under improper circumstances. [Dkt. 203].


   2. GOVERNMENT WOULD NOT SUFFER PREJUDICE


       The Government will not be prejudiced by the withdrawal of Jake Daughtry’s

guilty plea. He has suffered actual and irreversible prejudice as a result of the

misconduct of the government and its prosecutors. The duties of a prosecutor include

being a “servant of the law”, “not at liberty to strike foul blows”. United States v. Bowen,

799 F.3d 336 (5th Cir. 2015). The prosecutors herein have completely disregarded the

mandates of due process regarding their prosecutorial duties. They have been interested
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in anything but justice, betraying their duty as a servant of the law, and delivering blows

with a foul stench of malfeasance and intentional derogation of the law of due process.


       The Prosecutors have acted in bad faith knowingly providing the Defendant, the

Court, and at least one Magistrate Judge with false statements of fact in order to

establish probable cause. Exhibit 8-19. For example, SA Berra falsely swore under oath

“BDO has no consumer (non-industrial) application and is not readily marketed to the

public.” See paragraph 11 of Berra affidavit in Cause No. 1:20-MJ-127(the same affidavit

was attached to 8 of the 11 warrants).


       Despite the Government’s perpetual misconduct, numerous constitutional

violations, and prior discovery abuses including Brady and Miranda violations resulting

in the removal of the original prosecutor, the Government’s misconduct has persisted

seamlessly at the behest of the newly assigned prosecutor(s). The Government provided

and relied upon fabricated evidence in order to obtain Jake Daughtry’s guilty plea. [Dkt

258-1]. Deliberate and intentional violations such as this have an extremely powerful

impact on individuals entitled to Due Process and a cancerous effect on the

administration of justice.


       Many courts have found that the fabrication of evidence necessarily creates

prejudice towards the other party in the context of civil litigation. Notably, the Garcia

court reasoned that:


       “The actual prejudice to the defendants is overwhelming. They have
       been required to defend a lawsuit based on false evidence. Nothing
       can be relied on as authentic – from the [government’s] expert reports; to
       evidence offered in support of [his] interrogatory answers; to the evidence offered
       to the court. The defendants have been put to enormous additional effort and
       expense to ferret out the [government’s] lies and to double check every piece of

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         information and evidence. I have absolutely no confidence that the [government]
         would not attempt to offer additional false evidence at a trial. The risk that this
         court might issue judgment against the defendants based on the [government’s]
         fabrications and lies is simply too great to allow the case to proceed.” Garcia v.
         Berkshire Life Insurance Company of America, Civil No. 04-cv-01619-LTB-BNB
         (D. Colo. Nov. 28, 2007).(emphasis added)
   In the context of civil litigation, the Fifth Circuit has held that a victim of intentional

fabrication of evidence by officials is denied due process when he is either convicted or

acquitted. Cole v. Carson, 802 F.3d 752, 768 (5th Cir. 2015). In Cole, the Fifth Circuit

recognized deliberate fabrication of evidence by police may create a Fourteenth

Amendment claim if such a claim may not be pursued under the Fourth Amendment.

Cole provides affirmation that the Fifth Circuit recognizes due process requires the

avoidance of fabricated evidence and that it is an independent right apart from the other

protections specified in the Bill of Rights. This Constitutional protection is undeniably

due to any innocent defendant being accused and forced to defend against fabricated

evidence used during a criminal prosecution.


   The Fourth Circuit has held that you can withdraw a plea when it is procured by

fraud:


    This . . . is not a case where Defendant sought to withdraw his plea “merely because
he discover[ed] long after the plea ha[d] been accepted that his calculus
misapprehended the quality of the State’s case or the likely penalties attached to
alternative courses of action.” Rather, Defendant’s misapprehension stems from
an affirmative government misrepresentation that “strikes at the integrity
of the prosecution as a whole.” United States v. Fisher, 711 F.3d 460 (4th Cir.
2013).

Ultimately, the court of appeals found Mr. Fisher’s plea was simply too compromised to

stand in a totality of the circumstances analysis. Id. The same is true of Mr. Daughtry’s

plea.



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   3. THE DEFENDANT DID NOT DELAY FILING HIS WITHDRAWAL MOTION


       Jake Daughtry has filed this motion before sentencing and before this Court has

accepted the plea agreement. [Dkt 392] This Motion is also based on the discovery of

new information since the plea.


       Further, Jake Daughtry has filed this Motion after the decision in Ruan which

materially alters the nature of his plea and Information that would be proper in this

cause. An indictment or information’s failure to charge an offense constitutes a

jurisdictional defect. Because an indictment is jurisdictional, defendants at any time

may raise an objection to the indictment based on failure to charge an offense, and the

defect is "not waived by a guilty plea." Morales-Rosales, 838 F.2d at 1361-62; see also

Fed.R.Crim.P. 12(b)(2). U.S. v. Cabrera-Teran, 168 F.3d 141, 143 (5th Cir. 1999).


JAKE DAUGHTRY HAS DISCOVERED MORE FABRICATED EVIDENCE AND DISCOVERY ABUSES
SINCE HIS PLEA


   After being forced to abandon Silver Fern’s fictitious standard-of-care because it was

fabricated, the Government continues its efforts to fabricate a standard-of-care through

another company. Since the entry of his guilty plea, Jake Daughtry has discovered new

information that will likely lead to admissible evidence of an end-user form that the

Government created by mimicking one from another company that RPC never ordered

1,4 butanediol from. The Government is not permitted and this Court should not allow

the use of fabricated evidence in order to induce a plea.


       Just last week, Jake Daughtry learned the Government intends to use Silver Fern

documents against him in Sentencing despite prior assurances they had abandoned the


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fabrications. This indicates the prosecution does not intend to change their course and

that the strategy remains, win at all cost.


   The discovery abuses are so numerous that they were not all discovered by the time

of the plea. In communications from June of 2022, since the plea, Jake Daughtry

learned that an employee exercised their right to counsel and requested to see the

warrant at the scene of the raid on July 15, 2020. He also learned that this employee’s

right to counsel was violated and that this employee did not waive the right to an

attorney in writing. The employee confirmed that an agent instructed that they had to

sign a document to keep their right to an attorney in place. The document was actually a

waiver of this employee’s rights. When this employee learned they had been lied to by

the Government, the waiver was torn up. However, Mr. Daughtry was provided with the

employees’ signed, fully intact waiver in discovery. Exhibit 20 - Tampered Waiver of

Employee. After careful inspection of the document, it is evident, once again, the

Government has tampered with the form by meticulously lining up the letters, almost

perfectly, and piecing it back together, making it appear to Jake Daughtry it had never

been torn and that the employee had waived their Fifth and Sixth Amendment right.

The officer's report from this incident has still not been disclosed to Daughtry, resulting

in another new Brady violation.


   The trial exhibits reviewed after the plea with new counsel also contained a number

of undisclosed FinCen documents. Daughtry has been unable to conduct any

investigation as to the veracity or credibility of the information in the Exhibit because he

did not receive it in discovery. Upon reviewing the trial exhibits after the plea with his

new counsel, Jake Daughtry discovered that the Government has gone back and added

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sales records from February of 2014 in order to arrive at the claimed amount of more

than $775,906.801. Proposed Trial Exhibit 54 was never produced in discovery and

represents the first time the Government sought to include February 2014 in the sales

involved in the calculation.


MAGNET FORENSICS


       On July 21, 2022 Jake Daughtry discovered that the Government used a

computer forensic tool from Magnet Forensics on Jake Daughtry’s computer called

Magnet RAM Capture which is information intentionally concealed by the Government.

Before July 21, 2022, Jake Daughtry had only been told that FTK Viewer and Cellebrite

had been used by the Government on any devices in this case. The Magnet Forensics

suite of digital evidence tools, if used properly, would have provided Jake Daughtry with

digital evidence and chain of custody, giving vital information and history of the

fabricated evidence. Magnet’s RAM Capture, used on Jake Daughtry’s computer, has the

following capture capabilities: “RAM includes processes and programs running on the

system, network connections, evidence of malware intrusion, registry hives, usernames

and passwords, decrypted files and keys, and evidence of activity not typically stored on

the local hard disk.” Exhibit 27.


        If the Government used the Magnet Forensics tools appropriately, the

Government should have had access to this information, should know who committed

the fabrications, and they have deliberately concealed this information from the

innocent Defendant so that he would be restricted from information that proves his

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 The Government has made numerous claims about the amount of 1,4 butanediol sales that are in
conflict with one another.

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innocence. The new evidence shows the extent to which the Government had access to

this information since at least July 15, 2020 through a forensic program that they used

on the Defendant’s computer but never disclosed. This tool also provided the

Government with unfettered access to every attorney-client privileged communication

that had occurred on Jake Daughtry’s computer even after the email warrant had been

executed in 2018. On August 1, 2022 Jake Daughtry received a report from a forensic

analyst that the computer that had been mishandled resulting in the loss of exonerating

computer data. Exhibit 26.


      The information withheld was undeniably material to Jake Daughtry’s defense

causing him to enter a guilty plea without knowing the full extent to which the

Government fabricated evidence in violation of his due process rights. These deliberate,

malicious, and continuous omissions of material evidence by the Government will

continue without intervention by this Court.


JAKE DAUGHTRY’S ACTIONS DO NOT CONSTITUTE A CRIME UNDER THE RECENT RUAN
DECISION FROM THE UNITED STATES SUPREME COURT


      Congress made clear to specifically address 1,4 Butanediol independently in 21

USC § 841(g)(3), requiring the Attorney General to promulgate regulations by persons

handling 1,4-butanediol in order to implement and enforce the provisions of this

section, which has never been done.




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   Acting in bad faith, the Government’s probable cause affidavits intentionally and

maliciously omit 841(g)(3) entirely from its presentation in order to deceive the Court. If

they had included this vital and required provision it would have been apparent to the

reviewing Judge that the Attorney General has not promulgated regulations related to

record-keeping for 1,4 butanediol. Further, Berra falsely claims the sale of 1,4 butanediol

is specifically banned under 21 USC § 841 (g)(2)(A)(i). Here is the presentation made by

Berra to the Court:




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      The charge involves the entirety of 21 USC § 841 and the Government has the

burden of proof on each essential element. The conduct of the Government here in

obtaining a warrant beyond the power of the issuing judicial officer meets the criteria of

deliberateness and culpability reiterated in Herring. Herring v. United States, 555 U.S.

135 (2009).


      The prosecution has treated constitutional and statutory limits as an

inconvenience, and jurisdictional limits as irrelevant. Violations of a jurisdictional

limitation are never harmless. See Torres v. Oakland Scavenger Co., 487 U.S. 312, 317

n.3 (1988). At minimum, the omission of any consideration for 841(g)(3) deprived Jake

Daughtry of fair notice of the alleged crime.The statutory text omitted is significant

enough to deprive this Court of subject matter jurisdiction to act with respect to the

charge because the language specifies a condition precedent to implementation and

enforcement. Jake Daughtry’s “objection that the indictment fails to charge an offense is

not waived by a guilty plea. The violation of [Daughtry]'s right to be free of prosecution

for a nonoffense would bar his conviction even if his "factual guilt" had been established

validly.” United States v. Meacham, 626 F.2d 503 (5th Cir. 1980). The entry of a guilty

plea does not act as a waiver of jurisdictional defects such as an indictment's failure to

charge an offense. Id.


   A basic canon of statutory construction is that words should be interpreted as taking

their ordinary and plain meaning. Perrin v. United States, 444 U.S. 37, 42, 100 S.Ct.

311, 314, 62 L.Ed.2d 199 (1980). We must assume that Congress used the words of the

statute as they are commonly and ordinarily understood. United States v. Porter, 591

F.2d 1048, 1053 (5th Cir. 1979). A statute should ordinarily be interpreted according to

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its plain language, unless a clear contrary legislative intention is shown. United States v.

Apfelbaum,445 U.S. 115, 121, 100 S.Ct. 948, 952, 63 L.Ed.2d 250 (1980). Quarles v. St.

Clair, 711 F.2d 691, 699 n.21 (5th Cir. 1983). Here, the words “in order to” must be given

their plain meaning as a prerequisite to implementation and enforcement.


   The Government intentionally sought to replace the Attorney General’s failure to

promulgate regulations through an unlawful delegation of authority. Congress did not

authorize the DEA to promulgate regulations related to 1,4 Butanediol and it did not

authorize Silver Fern to do so. Ruan tells us that the proper evaluation of this issue is

not a prosecution driven standard of what amounts to “objectively,” “reasonable,” or

“honest effort.” Ruan at 13. Under, Ruan, Jake Daughtry is not required to conform his

actions to a hypothetical industry standard of care or to what someone might view as

reasonable. The Government can point to no regulation having the force and effect of

law that makes Jake Daughtry’s conduct a crime:




Exhibit 21 - Testimony of Mr. Salameh - Preliminary Injunction Hearing-1:20-CV-305
Dkt 47 at p. 128 l 15-18.
   In order for a drug or other substance to be listed in Schedule I, 21 USC § 812

(b)(1)(B) requires findings that the “drug or other substance has no currently accepted

medical use in treatment in the United States.” Once GHB was approved as a drug with

a medical use by the FDA, the required findings became impossible. The prescription


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drug Xyrem is the sodium salt of gamma-hydroxybutyrate (GHB). Exhibit 25 This is

another nullification of the Government’s analogue argument.


   Contrary to multiple claims by the DOJ and the DEA, Congress did not permanently

add GHB to the list of schedule I controlled substances. See 21 USC § 812 - Schedule I.

Exhibit   4.   Congress   specified,   GHB    was   subject   only   to “EMERGENCY

SCHEDULING” in 2000 which lasts only three years, if the temporary scheduling is

extended. (emphasis added)




      21 USC § 811(h)(1)-(2):




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   GHB is not a schedule I substance for at least two reasons: (1) GHB has a medically

accepted use which makes the findings required to list the substance on Schedule I

impossible; (2) GHB was subject only to emergency scheduling in 2000 and that

temporary scheduling has expired. Therefore, 1,4 butanediol cannot be a controlled

substance analogue of GHB by definition pursuant to 21 USC § 802(32)(A).


   4. THE WITHDRAWAL WILL NOT SUBSTANTIALLY INCONVENIENCE THE COURT

       The invalid plea should be addressed now or the Court risks that additional

judicial resources will be needed aside from a trial.


       This Court has not yet conducted sentencing and at this stage it would not

substantially inconvenience the Court to dismiss the faulty indictment in the interest of

justice.


       To prevent a miscarriage of justice, the Court should take the action necessary to

right the scales of justice. Since the Ruan decision, it is clear that Jake Daughtry’s plea is


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not a valid plea and that, when challenged, his plea would likely be reversed on appeal

which would increase the length of the criminal litigation.


   5. WHETHER CLOSE ASSISTANCE OF COUNSEL WAS AVAILABLE


      Daughtry was represented by Dustin Galmor at the time of his plea. Daughtry

should be permitted to file and obtain a ruling before trial on a Motion to Suppress,

Motion to Compel Disclosure, and Motion to Dismiss the Indictment or Information.


   6. THE ORIGINAL PLEA WAS NOT KNOWING OR VOLUNTARY


      Jake Daughtry maintains his innocence, however, the Government eventually

placed him under extreme duress. This Motion is filed, in part, because the

circumstances that caused Jake Daughtry to Plea were unconscionable in that the

Government sought prosecution of his elderly parents and offered them dismissals and

agreed to return all of the unlawfully seized property if he would enter a plea of guilty.

The Government’s threat that Jake’s elderly parents would die in prison if he chose to

proceed to trial, albeit immoral and unethical, proved to be powerful nonetheless.


      On June 27, 2022, after the guilty plea, the United States Supreme Court reined

in overzealous prosecutors who arrested doctors for failing to conform to unwritten

regulatory standards lacking the force and effect of law. The Supreme Court held in

Ruan v. United States, that the “knowingly” or “intentionally” mens rea applies to

authorization and that the Government must prove beyond a reasonable doubt that the

defendant knew that he or she was acting in an unauthorized manner, or intended to do

so for all elements of §841. Ruan v. United States, 597 U.S. ____ (2022). The mens rea

requirement rules out ex post facto laws, because if an act was legal when it took place,

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the actor could not have intentionally engaged in illegal conduct. An ex post facto law

punishes conduct that was innocent at the time the conduct occurred; that is, it attempts

to punish a citizen "for an act, which, when done, was in violation of no existing law."

Calder v. Bull, 3 U.S. (3 Dall.) 386, 388, 1 L.Ed. 648, 649 (1798). This is important in

the context of the Government’s argument that a shifting standard of care developed

through private actors such as Silver Fern might create a standard for criminal conduct.

Jake Daughtry could not have entered into a valid plea under Rule 11 to what the United

States Supreme Court had to clarify to the Court of Appeals in its Ruan decision, when

they did so only after his plea. Ruan v. United States, 597 U.S. ____ (2022).


   7. WITHDRAWING THE PLEA WILL NOT UNNECESSARILY WASTE JUDICIAL RESOURCES
       Jake Daughtry’s withdrawal of his guilty plea will not unnecessarily waste judicial

resources or substantially inconvenience the Court, especially given the appearance of

justice thus far in the case as a result of such egregious prosecutorial misconduct.

“[J]ustice must satisfy the appearance of justice.” Miller v. Sam Hous. State Univ., 986

F.3d 880 (5th Cir. 2021) citing Offutt v. United States, 348 U.S. 11, 14, 75 S.Ct. 11, 99

L.Ed. 11 (1954).


       The Government obtained a plea from Jake Daughtry based partially on the false

allegations that deaths resulted from the use of 1,4 butanediol and there is no admissible

evidence to support this claim. The Government has still not produced the entire

medical or forensic examiner case file. Daughtry should be permitted to have a Daubert

hearing after full discovery on the death investigations.




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       It would be a waste of judicial resources to let constitutional violations prevail

and to let the innocent Defendant be convicted which calls into question the integrity of

the system.


                           CONCLUSION AND PRAYER

   Mr Daughtry’s plea is invalid and was obtained unlawfully. The Government

disregarded the Constitution, the Federal Rules of Criminal Procedure, and

well-established Supreme Court precedent. In extraordinary misconduct, the

Government presented false evidence on material issues to the Court, Judges, defense

counsel and Jake Daughtry in order to win at all costs. Despite these obstacles two

significant events happened since the guilty plea: (1) The United States Supreme Court

decided Ruan clarifying the Government’s burden of proof as to the mens rea for each

element of the alleged offense; and (2) new evidence has been discovered including the

Government’s use of Magnet Forensics software on his computer and failed to disclose

what they did with it.


       The misconduct of the Government and its agents in this case has stained the

Government and tainted this prosecution to a degree most likely never experienced

previously in the Eastern District of Texas. As Judge Sullivan stated at the trial in the

wrongful prosecution of the late Senator Ted Stevens, “This is not about prosecution by

any means necessary.” Moreover “the fair administration of justice does not depend on

the luck of the draw or a lucky day or a lucky continuance. Indeed it should not depend

on who represents the defendant, whether an FBI agent blows a whistle, a new

administration, a new attorney general, or trial team. The fair administration of justice

depends on the Government meeting its obligations to pursue convictions fairly and in

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accordance with the Constitution.” United States of America v. Theodore F. Stevens,

United States District Court, District of Columbia, 1:08-cr-00231-EGS. The events that

led to Mr. Daughtry’s plea are a tragedy and should be a warning to everyone that any

innocent citizen might feel the pressure to enter a plea if the prosecutors are hellbent on

ignoring the Constitution and willing to present false evidence.


   For the reasons stated above and in the interest of justice, Jake Daughtry prays that

the Court finds that there is a fair and just reason to allow the plea of guilty to be

withdrawn. As such, he asks the Court to grant this motion. Jake Daughtry respectfully

requests an evidentiary hearing related to this Motion.




                                                 Respectfully submitted,

                                                 THE MONK LAW FIRM

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                                                 Fax: (409) 729-6665
                                                 brandon@themonklawfirm.com

                                                 By:    /s/ Brandon P. Monk
                                                 _________________________
                                                 BRANDON P. MONK
                                                 State Bar No. 24048668




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                             CERTIFICATE OF SERVICE

      I certify that on the 8th day of August, 2022, I electronically filed Defendant’s
Motion to Withdraw Guilty Plea with the Clerk of Court using the CM/ECF system
which will send notification of such filing to counsel of record.

                                                 By:  /s/ Brandon P. Monk
                                                 _________________________
                                                 BRANDON P. MONK


                       CERTIFICATE OF CONFERENCE
      The Government is opposed to this Motion pursuant to conference by telephone
between the undersigned and Mr. Christopher Rapp.

                                                 By:  /s/ Brandon P. Monk
                                                 _________________________
                                                 BRANDON P. MONK




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